           Case 4:07-cv-05944-JST Document 5412 Filed 03/19/19 Page 1 of 29


1    John Taladay (pro hac vice)
     john.taladay@bakerbotts.com
2    BAKER BOTTS LLP
     1299 Pennsylvania Ave., NW
3    Washington, D.C. 20004
     Telephone: (202) 639-7700
4    Facsimile: (202) 639-7890

5    Stuart C. Plunkett (State Bar No. 187971)
     stuart.plunkett@bakerbotts.com
6    Peter Huston (State Bar No. 150058)
     peter.huston@bakerbotts.com
7    BAKER BOTTS LLP
     101 California Street, Suite 3600
8    San Francisco, California 94111
     Telephone: (415) 291-6200
9    Facsimile: (415) 291-6300

10   Attorneys for
     IRICO GROUP CORP. and
11   IRICO DISPLAY DEVICES CO., LTD.

12
                             UNITED STATES DISTRICT COURT
13                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                SAN FRANCISCO DIVISION
14

15   IN RE: CATHODE RAY TUBE (CRT)                    )   Case No. 3:07-cv-05944-JST
     ANTITRUST LITIGATION,                            )
16                                                    )   MDL No.: 1917
                                                      )
17   THIS DOCUMENT RELATES TO:                        )   IRICO DISPLAY DEVICES CO.,
                                                      )   LTD.’S AMENDED MOTION TO
18   ALL DIRECT PURCHASER ACTIONS                     )   DISMISS CLAIMS OF DIRECT
                                                      )   PURCHASER PLAINTIFFS FOR
19                                                    )   LACK OF SUBJECT MATTER
                                                      )   JURISDICTION (FED. R. CIV. P.
20                                                    )   12(b)(1))
                                                      )
21                                                    )   Date:        May 30, 2019
                                                      )   Time:        2:00 p.m.
22                                                    )
                                                      )   Judge:       Honorable Jon S. Tigar
23                                                        Courtroom:   9
24

25

26

27

28
     IRICO DISPLAY’S AMENDED MOTION TO DISMISS DPPS                       CASE NO. 3:07-CV-05944-JST
     FOR LACK OF JURISDICTION                                                          MDL NO. 1917
           Case 4:07-cv-05944-JST Document 5412 Filed 03/19/19 Page 2 of 29


1                                NOTICE OF MOTION AND MOTION

2
     TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
3
            PLEASE TAKE NOTICE that on May 30, 2019, at 2:00 p.m., or as soon thereafter as the
4
     matter may be heard, before the Honorable Jon S. Tigar, United States District Judge of the
5
     Northern District of California, San Francisco Courthouse, located at Courtroom 9, 19th Floor,
6
     450 Golden Gate Avenue, San Francisco, California, Irico Display Devices Co., Ltd. (“Irico
7
     Display” or “Display,” together with Irico Group Corporation, “Irico” or “Irico Defendants”), by
8
     and through its undersigned counsel, will and hereby does move, pursuant to Federal Rules of
9
     Civil Procedure 12(b)(1) and (2) for an Order dismissing all claims in Direct Purchaser Plaintiffs’
10
     (“DPPs”) Consolidated Amended Complaint (Dkt. 436) against Irico Display for lack of subject
11
     matter jurisdiction.
12
            This Amended Motion is based on this Notice of Motion, the following Memorandum of
13
     Points and Authorities in support thereof, the Amended Declaration of Zhaojie Wang
14
     (“Amended Wang Decl.”), the Declaration of Donald Clarke (“Clarke Decl.”) (ECF No. 5392-3),
15
     the Amended Declaration of Stuart Plunkett (“Amended Plunkett Decl.”), any materials attached
16
     thereto or otherwise found in the record, along with the argument of counsel and such other
17
     matters as the Court may consider.
18
                                        ISSUES TO BE DECIDED
19
            1.      Whether the Court lacks subject matter jurisdiction over Irico Display pursuant to
20
     the Foreign Sovereign Immunities Act, 28 U.S. §§ 1602 et seq.
21

22

23

24

25

26

27

28
     IRICO DISPLAY’S AMENDED MOTION TO DISMISS DPPS                            CASE NO. 3:07-CV-05944-JST
     FOR LACK OF JURISDICTION                                                               MDL NO. 1917
            Case 4:07-cv-05944-JST Document 5412 Filed 03/19/19 Page 3 of 29


1                                                   TABLE OF CONTENTS

2    I.     INTRODUCTION ............................................................................................................ 1
3    II.    BACKGROUND .............................................................................................................. 2
4           A.        Procedural Background and Claims Against Irico ............................................... 2
5           B.        Irico Display ......................................................................................................... 3
6    III.   ARGUMENT ................................................................................................................... 4
7           A.        The Court Lacks Subject Matter Jurisdiction Because Irico Display is Immune
                      from Suit in the United States as an Organ of the People’s Republic of China ... 4
8
                      1.         Irico Display Was Created Pursuant to State-Directed Initiatives,
9                                Demonstrating its Status as an Organ of China ........................................ 6
10                    2.         The State Council Tightly Controlled and Supervised Irico Display
                                 through SASAC, Irico Group, and Other Government Ministries ........... 7
11
                      3.         Irico Display’s Purpose Was to Contribute to the Development of China’s
12                               National Economy and Increase the Value of State-Owned Assets ....... 12
13                    4.         Irico Display’s Leaders Were Government-Appointed and Considered
                                 State Officials Under Chinese Law ........................................................ 14
14
                      5.         Irico Display Had Significant Public Obligations and Privileges Under
15                               Chinese Law ........................................................................................... 16
16          B.        No Exceptions Apply That Would Deprive Irico Display of Sovereign Immunity
                      ............................................................................................................................ 17
17
     IV.    CONCLUSION .............................................................................................................. 23
18

19

20

21

22

23

24

25

26

27

28
     IRICO DISPLAY’S AMENDED MOTION TO DISMISS                          i                                      CASE NO. 3:07-CV-05944-JST
     DPPS FOR LACK OF JURISDICTION                                                                                          MDL NO. 1917
              Case 4:07-cv-05944-JST Document 5412 Filed 03/19/19 Page 4 of 29


1                                                  TABLE OF AUTHORITIES

2                                                                                                                                Page(s)

3    CASES
4    Adler v. Fed. Republic of Nigeria,
        107 F.3d 720 (9th Cir. 1997) .................................................................................................20
5
     Alperin v. Vatican Bank,
6
        360 F. App’x 847 (9th Cir. 2009) ................................................................................5, 11, 14
7
     Am. West Airlines, Inc. v. GPA Group, Ltd.,
8       877 F.2d 793 (9th Cir. 1989) .................................................................................................20

9    Argentine Republic v. Amerada Hess Shipping Corp.,
        488 U.S. 428 (1989) ................................................................................................................4
10
     Berizzi Bros. Co. v. The Pesaro,
11
        271 U.S. 562 (1926) ..............................................................................................................13
12
     Cal. Dep’t of Water Res. v. Powerex Corp.,
13      533 F.3d 1087 (9th Cir. 2008) ...........................................................................5, 6, 11, 13, 17

14   California v. NRG Energy, Inc.,
        391 F.3d 1011 (9th Cir. 2004) ...............................................................................................20
15
     Chirila v. Conforte,
16      47 Fed. App’x 838 (9th Cir. 2002) ........................................................................................22
17
     Compania Mexicana de Aviacion, S.A. v. U.S. Dist. Ct. for the C.D. Cal.,
18     859 F.2d 1354 (9th Cir. 1988) .................................................................................................4

19   Corporacion Mexicana de Servicios Maritimos, S.A. de C.V. v. M/T Respect,
        89 F.3d 650 (9th Cir. 1996) ...................................................................................................14
20
     Corzo v. Banco Cent. de Reserva del Peru,
21      243 F.3d 519 (9th Cir. 2001) .................................................................................................22
22   Dole Food Co. v. Patrickson,
23      538 U.S. 468 (2003) ................................................................................................................5

24   EIE Guam Corp. v. Long Term Credit Bank of Japan, Ltd.,
        322 F.3d 635 (9th Cir. 2003) ...............................................................................................5, 6
25
     EOTT Energy Operating Ltd. P’ship v. Winterthur Swiss Ins. Co.,
26     257 F.3d 992 (9th Cir. 2001) ...................................................................................................5
27   Filetech S.A. v. Fr. Telecom, S.A.,
28       212 F. Supp. 2d 183 (S.D.N.Y. 2001) ...................................................................................21

     IRICO DISPLAY’S AMENDED MOTION TO DISMISS                         ii                                  CASE NO. 3:07-CV-05944-JST
     DPPS FOR LACK OF JURISDICTION                                                                                      MDL NO. 1917
              Case 4:07-cv-05944-JST Document 5412 Filed 03/19/19 Page 5 of 29

     Gates v. Victor Fine Foods,
1       54 F.3d 1457 (9th Cir. 1995) .......................................................................................7, 11, 13
2
     Gregorian v. Izvetsia,
3       871 F.2d 1515 (9th Cir. 1989) ...............................................................................................19

4    Gross v. FBL Fin. Servs., Inc.,
        557 U.S. 167 (2009) ..............................................................................................................21
5
     Guirlando v. T.C. Ziraat Bankasi A.S.,
6       602 F.3d 69 (2d Cir. 2010) ....................................................................................................19
7    In re N. Sea Brent Crude Oil Futures Litig.,
8        No. 1:13-MD-02475 (ALC), 2016 WL 1271063 (S.D.N.Y. Mar. 29, 2016) ........................21

9    In re Wholesale Electricity Antitrust Cases I & II,
         No. 2-0990-RHW, 2002 WL 34165887 (S.D. Cal. Dec. 17, 2002........................................20
10
     Joseph v. Office of Consulate Gen. of Nigeria,
11      830 F.2d 1018 (9th Cir. 1987) ...............................................................................................20
12   Kipperman v McCone
        422 F. Supp. 860, 873 n.14 (N.D. Cal. 1976) ........................................................................22
13

14   Lotes Co., Ltd. v. Hon Hai Precision Indus. Co.,
        753 F.3d 395 (2d Cir. 2014) ..................................................................................................21
15
     Lyons v. Augusta S.P.A.,
16      252 F.3d 1078 (9th Cir. 2001) ...............................................................................................19
17   MOL, Inc. v. Peoples Republic of Bangladesh,
       736 F.2d 1326 (9th Cir. 1984) .................................................................................................5
18

19   Murphy v. Korea Asset Mgmt. Corp.,
       421 F. Supp. 2d 627 (S.D.N.Y. 2005) ...............................................................................5, 22
20
     Peterson v. Islamic Republic of Iran,
21      627 F.3d 1117 (9th Cir. 2010) ...............................................................................................18

22   Piedmont Label Co. v. Sun Garden Packing Co.,
        598 F.2d 491 (9th Cir. 1979) .................................................................................................22
23
     Powerex Corp. v. Reliant Energy Servs., Inc.,
24
        551 U.S. 224 (2007) ..............................................................................................................19
25
     Rep. of Austria v. Altmann,
26      541 U.S. 677 (2004) ................................................................................................................4

27   Republic of Argentina v. Weltover, Inc.,
        504 U.S. 607 (1992) ........................................................................................................19, 20
28
     IRICO DISPLAY’S AMENDED MOTION TO DISMISS                        iii                                  CASE NO. 3:07-CV-05944-JST
     DPPS FOR LACK OF JURISDICTION                                                                                      MDL NO. 1917
              Case 4:07-cv-05944-JST Document 5412 Filed 03/19/19 Page 6 of 29

     Rote v. Zel Custom Mfg. LLC,
1       816 F.3d 383 (6th Cir. 2016) .................................................................................................22
2
     Saudi Arabia v. Nelson,
3       507 U.S. 349 (1993) ..............................................................................................................17

4    Sec. Pac. Nat’l Bank v. Derderian,
        872 F.2d 281 (9th Cir. 1989) ...........................................................................................18, 21
5
     Siderman de Blake v. Republic of Argentina,
6        965 F.2d 699 (9th Cir. 1992) ...................................................................................................5
7    Terenkian v. Republic of Iraq,
8       694 F.3d 1122 (9th Cir. 2012) .............................................................................18, 19, 20, 21

9    Theo. H. Davies & Co. v. Republic of Marshall Islands,
        174 F.3d 969 (9th Cir. 1998) .................................................................................................22
10
     Trans Chem. Ltd. v. China Nat’l Mach. Imp. & Exp. Co.,
11      978 F. Supp. 266 (S.D. Tex. 1997)........................................................................................16
12   STATUTES
13   28 U.S.C. § 1603 .......................................................................................................................4, 5
14
     28 U.S.C. § 1604 ...........................................................................................................................4
15
     28 U.S.C. § 1605 .......................................................................................................13, 17, 18, 19
16
     OTHER AUTHORITIES
17
     Company Law of the People’s Republic of China, Art. 217(3) ....................................................9
18
     Constitution of the People’s Republic of China, Art. 19 .............................................................12
19
     Constitution of the People’s Republic of China, Art. 21 .............................................................12
20

21   Constitution of the People’s Repulic of China, Art. 7 ...........................................................12, 13

22   Criminal Law of the People’s Republic of China Art. 93 ..........................................................15

23

24

25

26

27

28
     IRICO DISPLAY’S AMENDED MOTION TO DISMISS                           iv                                    CASE NO. 3:07-CV-05944-JST
     DPPS FOR LACK OF JURISDICTION                                                                                          MDL NO. 1917
           Case 4:07-cv-05944-JST Document 5412 Filed 03/19/19 Page 7 of 29


1    I.      INTRODUCTION
2            The Court lacks subject matter jurisdiction over Irico Display under the Foreign

3    Sovereign Immunities Act (“FSIA”), 28 U.S. §§ 1602 et seq. The contemporaneous

4    documentary evidence, sworn declarations of employees with direct personal knowledge, and

5    expert declaration of a highly qualified Chinese legal expert establish that Irico Display, at all

6    relevant times, was an agency or instrumentality of the State Council of the People’s Republic of

7    China. Irico Display is thus presumptively entitled to sovereign immunity. Display was created

8    by wholly state-owned governmental entities to contribute to the development of China’s

9    national economy and was tightly controlled by the Chinese government. (Amended Wang Decl.

10   ¶¶ 40-42, 46-47.) The Chinese government and courts have deemed Display’s top management

11   to be state officials by virtue of their positions at Display, and as a state-controlled enterprise,

12   Display had obligations to the people of China. (Amended Wang Decl. ¶¶ 64-65.)

13           At the time the Direct Purchaser Plaintiffs (“DPPs”) filed their original complaint in

14   2007, Irico Display was a state-controlled company. (Amended Wang Decl. ¶ 45.) Irico Display

15   was created through a collaboration of four wholly state-owned entities. (Amended Wang Decl.

16   ¶¶ 40-42.) These state-owned collaborators created Irico Display with the express intent to

17   “protect and increase the value of [Display’s] state-owned assets.” (Amended Plunkett Decl.,

18   Ex. 44 at -854.) All of Display’s initial funding at formation, funds required for capital projects,

19   and periodic monetary infusions came from the Chinese government through the State-owned

20   Assets Supervision and Administration Commission (“SASAC”), the Ministry of Finance, and

21   through wholly state-owned Irico Group Corporation (“Irico Group”). (Amended Wang

22   Decl. ¶ 59.)

23           Display was tightly controlled and supervised by SASAC, Irico Group, and other

24   departments of the State Council, and local Shaanxi Province government authorities. (Amended

25   Wang Decl. ¶¶ 46-47, 56.) Irico Display was also monitored on a day-to-day basis by a Chinese

26   Communist Party cell embedded inside Display’s facilities to monitor and supervise all

27   operations and employees. (See Amended Wang Decl. ¶¶ 37-38.) The control and supervision

28   exercised by governmental entities included, inter alia, the authority to: (i) “appoint

     IRICO DISPLAY’S AMENDED MOTION TO DISMISS        1                           CASE NO. 3:07-CV-05944-JST
     DPPS FOR LACK OF JURISDICTION                                                             MDL NO. 1917
           Case 4:07-cv-05944-JST Document 5412 Filed 03/19/19 Page 8 of 29


1    representatives” to Display shareholder meetings to exercise authority as the controlling

2    shareholder; (ii) “supervise and administer” the financial situation of Display in order to

3    safeguard the state’s interest in its “State-owned assets;” (iii) nominate and remove top

4    management of Display, including the “general manager, deputy general manager, [and] chief

5    accountant;” (iv) approve requests for production changes, including new assembly lines and

6    equipment; (v) approve Display’s annual operating, budget, and investment plans; and (vi) when

7    Display was in danger of bankruptcy in 2004, SASAC and the Chinese Ministry of Finance

8    intervened to supply funds and approve a restructuring plan for the purpose of preventing

9    damage to the Chinese national economy and harm to Chinese workers. (Amended Wang Decl.

10   ¶¶ 29-30, 45-47, 52-55.) Governmental control and supervision thus effected virtually every

11   aspect of Irico Display’s top managerial decisions and much of the day-to-day operation of the

12   enterprise.

13          No exception to Irico Display’s presumed immunity applies. Contrary to their prior

14   erroneous arguments, DPPs cannot satisfy their burden to establish that Display’s alleged

15   conduct satisfies the “commercial activity” exception to the FSIA’s jurisdictional bar. Irico

16   Display made no sales of CRTs to the United States during the Class Period and no direct effect

17   can be attributed to Irico Display under the commercial activity exception. Contrary to DPPs’

18   assertion, the law precludes plaintiffs from relying on generalized allegations of a CRT

19   conspiracy, allegedly undertaken by unrelated actors in the United States, to satisfy its burden to

20   demonstrate that sales or other conduct specifically attributable to Display had the requisite

21   direct effect on the United States. Consequently, Irico Display is entitled to sovereign immunity

22   under the FSIA and DPPs’ claims should be dismissed with prejudice.

23   II.    BACKGROUND

24          A.      Procedural Background and Claims Against Irico
25          The background of the case is known to the Court and is summarized briefly in the

26   motion to dismiss by Irico Group. (See Irico Group Mot. at 2-3.) The creation, status,

27   obligations, privileges, support, management, and supervision of Irico Group by the Chinese

28   government are also detailed in that motion. (See id. at 3-8.)

     IRICO DISPLAY’S AMENDED MOTION TO DISMISS       2                         CASE NO. 3:07-CV-05944-JST
     DPPS FOR LACK OF JURISDICTION                                                          MDL NO. 1917
            Case 4:07-cv-05944-JST Document 5412 Filed 03/19/19 Page 9 of 29


1            B.       Irico Display

2            Irico Display is a Chinese company with its principal place of business at 1 Caihong Rd.,

3    Xianyang City, Shaanxi Province, 712021, People’s Republic of China. (Amended Wang Decl.

4    ¶ 39; Dkt. 346, ¶ 38.) At the time of filing of the DPP complaint, the share capital of Display was

5    owned 41.36% by Irico Group Electronics Co., Ltd. (“Electronics”), 1 which was in turn 75%

6    owned by Irico Group, a wholly state-owned entity that controlled both Display and Electronics.

7    (Amended Wang Decl. ¶ 44; Amended Plunkett Decl., Ex. 2 at -240.) Irico Display was

8    registered as and classified by SASAC as a “state-controlled company” in 2007. 2 (Amended

9    Wang Decl. ¶ 45; Amended Plunkett Decl., Ex. 32 at -670-71 (Irico Display consolidated

10   financial statements, on file with SASAC, listing the “Economic type” of Display as

11   “State-owned or State-controlled”).) As a state-controlled company, Irico Display was subject

12   to extensive supervision and control by the government, authorized by decree of the State

13   Council and implemented by SASAC, other ministries of the State Council, and the State

14   Council’s wholly-owned instrumentality, Irico Group. (Amended Wang Decl. ¶¶ 46-58.) All

15

16   1
       All other shareholders of Irico Display each held less than 2 percent of the company’s equity. Several of
     these minority shareholders were also Chinese state-owned corporations, increasing the proportion of
17   Display’s total state-owned equity. (See Amended Plunkett Decl., Ex. 20 at -599 (“State-owned equity
     structure table of IRICO Display” showing eight investors in addition to Irico Electronics holding
18   “State-owned legal person shares”).)
     2
19     “State-controlled company” is the same Chinese legal term of art (guoyou konggu qiye) translated as
     “state-owned holding company” in Irico’s motion to set aside the default. (See Dkt. 5215 at 8.) However,
20   “state-owned holding company” was used previously because it appears in the English-language version
     of the regulations. Decree of the State Council of the People’s Republic of China No. 378, Art. 2 (May 27,
21   2003) (“SASAC Regs.”), available at http://en.sasac.gov.cn/n1408035/c1477199/content.html. While
     the phrase “konggu qiye” can mean “holding company” in some contexts, “state-controlled company” is
22   the translation that applies to entities less than wholly-owned by the government but still subject to actual
     government control. (Amended Plunkett Decl., Ex. 11 at -571 (opinion letter from Chinese State Bureau
23   of Statistics defining “state-controlled company” to include “an enterprise for which, even though the
     percentage of State capital (equity) is not greater than 50%, it is relatively higher than other economic
24
     elements in the enterprise”); Clarke Decl., ¶¶ 24 & n. 22, 28.) Irico Display’s 2007 audit filings approved
25   by SASAC identify it as a state-controlled company (Amended Plunkett Decl., Ex. 32 at -670-71), and
     SASAC regulations use the same term to define its control and supervision over such companies,
26   including Display. See generally SASAC Regs. (specifying different degrees of direct control over
     “wholly State-owned companies,” “State-owned holding companies [guoyou konggu qiye],” and
27   “companies with State-owned equity”); (Amended Wang Decl. ¶ 46-47.) DPPs’ previous attempt to
     criticize Irico Display’s use of this phrase during oral argument on the default motions as “an attempt to
28   mislead . . . the Court” is therefore misplaced. (Jan. 11, 2018 Hrg. Tr. at 21:11-24.)

     IRICO DISPLAY’S AMENDED MOTION TO DISMISS            3                            CASE NO. 3:07-CV-05944-JST
     DPPS FOR LACK OF JURISDICTION                                                                  MDL NO. 1917
            Case 4:07-cv-05944-JST Document 5412 Filed 03/19/19 Page 10 of 29


1    significant operating, financial, and personnel decisions were either made directly by or subject

2    to approval by these Chinese government entities. (Id.) Irico Display also received substantial

3    financial support from these same government bodies, from its initial funding at creation by

4    wholly state-owned entities to loan guarantees and government funding appropriations granted

5    through and beyond 2007. (Amended Wang Decl. ¶¶ 59-61.) Both the control exercised over

6    Display and the government support provided to Display were by virtue of its status as a

7    state-controlled company and did not apply to private Chinese corporations.

8    III.    ARGUMENT

9            A.      The Court Lacks Subject Matter Jurisdiction Because Irico Display is
                     Immune from Suit in the United States as an Organ of the People’s Republic
10                   of China
11           The FSIA insulates foreign governmental organs and instrumentalities, like Irico Display,
12   from the exercise of jurisdiction in the United States. See 28 U.S.C. § 1604. The FSIA is “a
13   comprehensive statute containing a set of legal standards governing claims of immunity in every
14   civil action against a foreign state or its political subdivisions, agencies, or instrumentalities” and
15   “is the exclusive source of subject matter jurisdiction over all suits involving foreign states and
16   their instrumentalities.” Rep. of Austria v. Altmann, 541 U.S. 677, 691 (2004) (internal quotation
17   marks omitted); Compania Mexicana de Aviacion, S.A. v. U.S. Dist. Ct. for the C.D. Cal., 859
18   F.2d 1354, 1358 (9th Cir. 1988). Under the FSIA, the definition of a “foreign state” includes any
19   “agency or instrumentality of a foreign state,” to wit, any entity:
20
                     (1) which is a separate legal person, corporate or otherwise, and
21
                     (2) which is an organ of a foreign state or political subdivision thereof, or a
22                   majority of whose shares or other ownership interest is owned by a foreign
                     state or political subdivision thereof, and
23
                     (3) which is neither a citizen of a State of the United States as defined in
24                   section 1332(c) and (e) of this title, nor created under the laws of any third
                     country.
25   28 U.S.C. § 1603 (b); see also Argentine Republic v. Amerada Hess Shipping Corp., 488 U.S.
26   428, 428-29, 434 (1989) (the FSIA is “the sole basis for obtaining jurisdiction over a foreign state
27   in United States courts” and “must be applied by district courts in every action against a foreign
28
     IRICO DISPLAY’S AMENDED MOTION TO DISMISS         4                          CASE NO. 3:07-CV-05944-JST
     DPPS FOR LACK OF JURISDICTION                                                             MDL NO. 1917
           Case 4:07-cv-05944-JST Document 5412 Filed 03/19/19 Page 11 of 29


1    sovereign”); Siderman de Blake v. Republic of Argentina, 965 F.2d 699, 706 (9th Cir. 1992) (“As

2    a threshold matter, therefore, a court adjudicating a claim against a foreign state must determine

3    whether the FSIA provides subject matter jurisdiction over the claim.”); MOL, Inc. v. Peoples

4    Republic of Bangladesh, 736 F.2d 1326, 1328 (9th Cir. 1984) (“As section 1330(a) indicates,

5    sovereign immunity is not merely a defense under the FSIA. Its absence is a jurisdictional

6    requirement.”).

7            It is undisputed that Irico Display is a separate legal person under subsection 1603(b)(1)

8    of the FSIA and is a citizen of China for purposes of subsection (b)(3).

9            As evidenced below, Display also qualifies for immunity because it was “an organ of a

10   foreign state or political subdivision thereof” under section 1603(b)(2) at the time the original

11   suit was filed in November 2007. 28 U.S.C. § 1603(b)(2). “Consistent with Congress’s intent,”

12   the Ninth Circuit “defines ‘organ’ broadly, mindful that ‘agency or instrumentality of a foreign

13   state’ could assume a variety of forms, including a state trading corporation, a mining enterprise,

14   a transport organization such as a shipping line or airline, [or] a steel company . . . .” Cal. Dep’t

15   of Water Res. v. Powerex Corp., 533 F.3d 1087, 1098 (9th Cir. 2008) (internal quotations

16   omitted). Unlike the more rigid ownership requirement under the second prong of section

17   1603(b)(2), which “turn[s] on formal corporate ownership,” Dole Food Co. v. Patrickson, 538

18   U.S. 468, 474 (2003), courts in the Ninth Circuit “take a holistic view of the defendant” for the

19   determination of “organ” status. Alperin v. Vatican Bank, 360 F. App’x 847, 849 (9th Cir. 2009)

20   (internal quotations omitted); see also EIE Guam Corp. v. Long Term Credit Bank of Japan, Ltd.,

21   322 F.3d 635, 640 (9th Cir. 2003) (“entity may be an organ of a foreign state even if it has some

22   autonomy from the foreign government”); EOTT Energy Operating Ltd. P’ship v. Winterthur

23   Swiss Ins. Co., 257 F.3d 992, 997 (9th Cir. 2001) (even if entity’s shares are “not directly held by

24   Ireland, it is still possible for it to be an ‘organ’ of a foreign state”); Murphy v. Korea Asset Mgmt.

25   Corp., 421 F. Supp. 2d 627, 640-41 (S.D.N.Y. 2005) (determining status as “organ of a foreign

26   state” is “ad hoc” analysis since organs are “likely to share characteristics both with

27   governments . . . and non-governmental entities”).

28
     IRICO DISPLAY’S AMENDED MOTION TO DISMISS         5                          CASE NO. 3:07-CV-05944-JST
     DPPS FOR LACK OF JURISDICTION                                                             MDL NO. 1917
          Case 4:07-cv-05944-JST Document 5412 Filed 03/19/19 Page 12 of 29


1           The Ninth Circuit considers several factors to determine whether an entity is an “organ of

2    a foreign state” for purposes of the FSIA, including “the circumstances surrounding the entity’s

3    creation, the purposes of its activities, its independence from the government, the level of

4    government financial support, its employment policies, and its obligations and privileges under

5    state law.” Powerex, 553 F.3d. at 1098 (quoting EIE Guam, 322 F.3d at 640). The “organ”

6    determination may also “be based exclusively on foreign law.” Id.

7                   1.      Irico Display Was Created Pursuant to State-Directed Initiatives,
                            Demonstrating its Status as an Organ of China
8

9           Irico Display was established in 1992 by wholly state-owned entities: Irico Group,

10   Shaanxi Electronics Industry Company, Shaanxi ICBC Trust and Investment Corporation, and

11   Shaanxi PCBC Trust and Investment Corporation. (Amended Wang Decl. ¶ 40; Amended

12   Plunkett Decl., Ex. 44 at -853 (“Official response” by Shaanxi Provincial Commission on the

13   Restructuring of the Economic System, approving the formation of Display and listing its

14   founding shareholders).) As a collaboration founded and held by four wholly state-owned

15   entities and created with the approval of the Shaanxi Provincial Economic System Reform

16   Committee, Display was set up and operated as a wholly state-owned enterprise of the Chinese

17   government. (Amended Wang Decl. ¶ 41.) Irico Display was created pursuant to “the

18   requirements of nine commissions, offices and ministries such as the Provincial Economic

19   Commission” as part of a government “joint stock system reform pilot . . . for nationalized

20   enterprises . . . to realize new mechanisms to create new enterprises and construct new product

21   lines,” and enjoyed special government “policies” benefiting such enterprises. (Amended

22   Plunkett Decl. Ex. 44 at -853-54; see also id., Ex. 40 at -744-45 (letter between Chinese

23   government agencies, describing Display as “one of the first batch of Shaanxi Province

24   shareholding system test units and . . . one of the national modern enterprise system 100 test

25   units,” and “the only enterprise to be recommended by this ministry for listing in 1995,” with the

26   government directly purchasing listed shares to “maintain social stability”).)

27          The Chinese Government tasked Display with the development, production, and sales of

28   color picture displays, parts, and raw materials (Amended Wang Decl. ¶ 43; Amended Plunkett

     IRICO DISPLAY’S AMENDED MOTION TO DISMISS       6                         CASE NO. 3:07-CV-05944-JST
     DPPS FOR LACK OF JURISDICTION                                                          MDL NO. 1917
            Case 4:07-cv-05944-JST Document 5412 Filed 03/19/19 Page 13 of 29


1    Decl., Ex. 31 at -668), and was instructed to “protect and increase the value of [its] state-owned

2    assets” under the “industrial supervision work carried out by the provincial office of the

3    electronics industry.” (Amended Plunkett Decl., Ex. 44 at -854.) Irico Display’s initial public

4    offering in 1995 was designed to “widely attract idle funds from society and contribute to the

5    development of [China’s] electronic products such as color displays,” (Amended Plunkett Decl.

6    Ex. 31 at -668), thus “increasing the controlling power of state-owned assets through leveraging”

7    of funds from passive investors. (Amended Wang Decl. ¶ 42.)

8            Display’s creation, therefore, clearly supports a finding of “organ” status under the FSIA.

9    The evidence establishes a high degree of control and involvement by various government actors

10   at both the Chinese national and provincial government levels in sponsoring Display’s formation

11   as a model for centrally-directed state-owned enterprise shareholding reform and establishing

12   control over its high-level management and day-to-day business operations. See Gates v. Victor

13   Fine Foods, 54 F.3d 1457, 1460 (9th Cir. 1995) (holding an association of private hog producers

14   to be an organ of the Province of Alberta, where association was created by approval of

15   producers’ application by a government marketing council).

16                  2.      The State Council Tightly Controlled and Supervised Irico Display
                            through SASAC, Irico Group, and Other Government Ministries
17

18           Display was subject to both direct and indirect supervision by SASAC as authorized by

19   Interim Regulations on Supervision and Management of State-owned Assets of Enterprises,

20   adopted by the State Council in 2003 and in effect in late 2007. See SASAC Regs., Art. 2

21   (“These regulations are applicable to the supervision and management of . . . State-owned

22   holding enterprises [i.e., state-controlled companies]”); (Amended Wang Decl. ¶ 45). Under

23   those regulations, SASAC exercised authority to:

24      •    “appoint representatives” to Display shareholder meetings to exercise authority as the
             controlling shareholder, SASAC Regs., Art. 22;
25
        •    nominate the Chairman and other directors to Display’s board of directors, id. at Art.
26           17(3);

27      •    nominate the Chairman and other members of Display’s supervisory panel, id.;
        •    nominate top management of Display, including the “general manager, deputy general
28           manager, [and] chief accountant, id.;
     IRICO DISPLAY’S AMENDED MOTION TO DISMISS       7                         CASE NO. 3:07-CV-05944-JST
     DPPS FOR LACK OF JURISDICTION                                                          MDL NO. 1917
            Case 4:07-cv-05944-JST Document 5412 Filed 03/19/19 Page 14 of 29

        •    “guide and push forward” Display (and other companies under Irico Group) in “reform
1            and restructuring,” and other efforts to adjust corporate governance in accordance with
2            State Council policy, id. at Art. 13(2);
        •    “supervise and administer” the financial situation of Display in order to safeguard the
3            state’s interest in its “State-owned assets,” id. at Art. 13(5);
4       •    establish “guideline[s]” for executive and employee “remuneration” and “regulate and
             control . . . allocation of remuneration” between Display and other enterprises under its
5            supervision, id. at Art. 26; and
6       •    “evaluate the[] performance” of top Display directors and management it has appointed
             and “grant rewards or impose punishments” based on those evaluations, id. at Art. 13(4).
7
             Under these regulations, Display was required to “accept the supervision and
8
     administration conducted by” SASAC. Id. at Art. 11. Display was also subject to special
9
     “guidance and coordination” from SASAC in “overcoming difficulties and solving problems in
10
     the process of their reform and development.” Id. at Art. 14(6). SASAC exercised its authority
11
     over Irico Display under these provisions through the SASAC-appointed management of its
12
     wholly-owned instrumentality, Irico Group. (Amended Wang Decl. ¶ 46.)
13
             Major production changes by Display, such as new assembly lines and equipment,
14
     required direct approval by Irico Group, which in turn required approval from SASAC.
15
     (Amended Wang Decl. ¶¶ 33, 55; see, e.g., Amended Plunkett Decl. Ex. 36 at -712 (report on
16
     Irico Group “Investment Plan for 2007,” including investments implemented through various
17
     subsidiaries, submitted to SASAC for approval). Specifically, Irico Display’s annual operating
18
     plan, budget, and investment plan were compiled with other subsidiaries of Irico Group and
19
     submitted for approval by SASAC and the Ministry of Finance. (Amended Wang Decl. ¶¶ 27,
20
     33.) Any corporate reforms, restructuring, establishing new subsidiaries, mergers, issuance of
21
     new shares, or establishment of joint ventures by Irico Display required the approval of SASAC.
22
     (Amended Wang Decl. ¶ 29.) As one example, Irico Display was in danger of bankruptcy in
23
     2004 due to a precipitous drop in CRT sales. To prevent damage to the Chinese national
24
     economy and unemployment of numerous Display workers, SASAC intervened and approved a
25
     plan of reorganization (submitted by Irico Group) to restructure and streamline Irico Display’s
26
     operations, with supporting funds supplied by the Ministry of Finance, leaving Display as the
27
     only CRT manufacturer in China to avoid bankruptcy. (Amended Wang Decl. ¶ 30.)
28
     IRICO DISPLAY’S AMENDED MOTION TO DISMISS       8                         CASE NO. 3:07-CV-05944-JST
     DPPS FOR LACK OF JURISDICTION                                                          MDL NO. 1917
             Case 4:07-cv-05944-JST Document 5412 Filed 03/19/19 Page 15 of 29


1              Irico Display was always subject to the direct control of wholly state-owned Group, and

2    thus control by the Chinese government, in all its business activities, financial policies, and

3    appointment of management. (Amended Wang Decl. ¶¶ 47-55, 57-58.) This control was formal

4    and official: Group was listed as the “actual controller” of Display in 2007 pursuant to the 2006

5    Chinese Company Law, which defines the term as “a person who is able practically to govern the

6    behavior of a company through investment relations, agreements or other arrangements,

7    although the person is not a shareholder of the company.” Company Law of the People’s

8    Republic of China, Art. 217(3); 3 (Amended Wang Decl. ¶ 48; Amended Plunkett Decl., Ex. 2 at

9    -239 (listing Group as “actual controlling” person/shareholder”) 4; Clarke Decl. ¶ 32. 5) Group’s

10   direct control over Display closely mirrored the control that SASAC held over wholly

11   state-owned companies like Group. Irico Display was required to submit regular financial,

12   operational, and investment reports to Group for approval, which Group was required to

13   incorporate into its own reports for approval by SASAC. (Amended Wang Decl. ¶¶ 27, 53, 62;

14   Amended Wang Decl. ¶ 11); see SASAC Regs. Art. 37, 39 (requiring such reports). Irico Group

15   directly selected the Board of Directors of Irico Display by nominating the slate through Irico

16   Electronics and appearing directly at Display’s shareholder meetings to approve the same slate it

17   had nominated. (Amended Wang Decl. ¶ 52; compare Amended Plunkett Decl. Ex. 33 at -678

18   (November 2007 Irico Group resolution regarding a slate of directors for Irico Display, and

19   dismissing other directors), with id., Ex. 2 at -241-42 (list of Irico Display directors, including all

20   the individuals recommended by Group with terms beginning November 2007 and none of the

21   removed individuals)); see SASAC Regs. Art. 17(2)-(3) (authorizing the nomination,

22   appointment, and removal of board candidates). Because shareholders were required to be

23

24
     3
25       Available at http://www.npc.gov.cn/englishnpc/Law/2007-12/13/content_1384124.htm).
     4
      As explained by Professor Clarke, “actual controlling shareholder” is a mistranslation; “actual
26   controlling person” (or “actual controller”) is a more accurate meaning given that Irico Group was not a
     direct shareholder. Clarke Decl. ¶ 32 n. 37.
27
     5
      Citations in the Clarke Declaration to “Plunkett Decl.” refer to identical exhibit numbers as those
28   attached to the Amended Plunkett Declaration filed in support of this motion.

     IRICO DISPLAY’S AMENDED MOTION TO DISMISS          9                           CASE NO. 3:07-CV-05944-JST
     DPPS FOR LACK OF JURISDICTION                                                               MDL NO. 1917
          Case 4:07-cv-05944-JST Document 5412 Filed 03/19/19 Page 16 of 29


1    present or designate a proxy to vote at these meetings, there was no Display shareholder meeting

2    at which Group did not control a majority of voting shares. (Amended Wang Decl. ¶ 51.)

3           Irico Group also appointed and removed the management of Display, including the

4    General Manager (i.e., CEO), Deputy General Manager, Chief Financial Officer, and all

5    department heads, by directing recommendations to Irico Electronics, which were universally

6    and unquestioningly implemented by the Group-appointed Board of Directors of Irico Display.

7    (Amended Wang Decl. ¶ 50; Amended Wang Decl. ¶¶ 8-10; see Clarke Decl. ¶ 31; compare

8    Amended Plunkett Decl., Ex. 33 at -678 (November 2007 Irico Group resolution determining

9    candidates for Irico Display’s top management and removing others), with id., Ex. 2 at -241-42

10   (list of Irico Display “senior executives,” including all the individuals proposed by Group with

11   terms beginning November 2007 and none of the removed individuals); see SASAC Regs. Art.

12   17(1), (3) (authorizing nomination, appointment, and removal of management).

13          Irico Group’s control acted as a direct extension of the control SASAC exercised over

14   Group, as evidenced by annual “Letters of Responsibilities.” These letters were required of all

15   “responsible persons of enterprises controlled by Group,” including Display. (Amended

16   Plunkett Decl., Ex. 47 at -914 (example of annual “Letter of Responsibilities for Operational

17   Tasks” laying out obligations and performance requirements for Irico Display management); see

18   Amended Wang Decl. ¶ 53; Clarke Decl. ¶ 33.) They established contractual performance and

19   compensation responsibilities of those Display managers to the management of Group, just as

20   SASAC required such letters of Irico Group’s top management. (Compare Amended Plunkett

21   Decl., Ex. 47 at -915 (specifying that Letter of Responsibilities is to “be executed in accordance

22   with the Measures for Assessment of the Operational Performance of the Responsible Persons of

23   IRICO Group Corporation” issued by SASAC), with id., Ex. 28 at -632 (2006 SASAC notice to

24   Irico Group evaluating “Operational Performance of Persons in Charge of IRICO Group

25   Corporation” in accordance with SASAC regulations)); see SASAC Regs. Art. 13(4), 18

26   (authorizing evaluation of “the performance of the responsible persons of enterprises” and the

27   signing of “performance contracts with the responsible persons of enterprises appointed by it”).

28
     IRICO DISPLAY’S AMENDED MOTION TO DISMISS      10                        CASE NO. 3:07-CV-05944-JST
     DPPS FOR LACK OF JURISDICTION                                                         MDL NO. 1917
          Case 4:07-cv-05944-JST Document 5412 Filed 03/19/19 Page 17 of 29


1           The extensive control exercised by SASAC through its appointed agents at wholly

2    state-owned Irico Group not only meets, but far exceeds the requirements necessary to establish

3    Display’s status as an “organ” of the Chinese government under the FSIA. Alperin, 360 F. App’x

4    at 850 (holding that “day-to-day control” was unnecessary, and “arms-length supervision” by the

5    government was sufficient to support organ status); Gates, 54 F.3d at 1461. The fact that, at

6    times, government control was exercised indirectly through a wholly state-owned

7    instrumentality “hardly matters” in the analysis. Powerex, 533 F.3d at 1101 (“There is no reason

8    to think Congress cared for the manner in which foreign states interacted with their organs—i.e.,

9    whether the foreign state supervises the organ directly, or through an incorporated agent.”).

10   Moreover, as Group was a wholly state-owned and wholly state-controlled enterprise, the

11   Chinese government, through SASAC and Group, controlled virtually all aspects of management

12   and day-to-day business operations at Display. (Amended Wang Decl. ¶ 47.)

13          In addition to SASAC, Irico Display was also supervised by the Chinese Ministry of

14   Finance, which reviewed and approved Display’s financial reports. These reports were fully

15   consolidated into Group’s financials for purposes of Group’s financial audit and determination of

16   its mandatory capital gains contribution to the state. (Amended Wang Decl. ¶ 62; Amended

17   Plunkett Decl., Ex. 24 at -618 (2007 SASAC letter regarding audit of Irico Group’s consolidated

18   2006 financial statements, combining results from “28 level-three or above subsidiaries,” which

19   included Display); id., Ex. 16 at -588 (SASAC notice directing Group to pay state-owned capital

20   gains of RMB2.98 million based on its consolidated financial statements); Clarke Decl. ¶ 29).

21          Shaanxi provincial authorities also supervised Display, including the Shaanxi Province

22   state-owned assets supervision authority. Display needed approval from the Shaanxi Province

23   state-owned asset supervision authorities for its initial public offering. (Amended Wang Decl. ¶

24   56; Amended Plunkett Decl., Ex. 14 at -584 (document from National Administration of

25   State-Owned Assets, a predecessor to SASAC, granting approval to begin the listing process and

26   mandating that an appraisal of Irico Display’s assets be sent for “review and confirmation”). All

27   of these government bodies likewise are subject to the control of the State Council. (Amended

28   Plunkett Decl. Ex. 51; see Clarke Decl. ¶¶ 14-15.)

     IRICO DISPLAY’S AMENDED MOTION TO DISMISS     11                         CASE NO. 3:07-CV-05944-JST
     DPPS FOR LACK OF JURISDICTION                                                         MDL NO. 1917
           Case 4:07-cv-05944-JST Document 5412 Filed 03/19/19 Page 18 of 29

                     3.      Irico Display’s Purpose Was to Contribute to the Development of
1                            China’s National Economy and Increase the Value of State-Owned
                             Assets
2
             As a part of China’s “socialist economy under ownership by the whole people,”
3
     (Constitution of the People’s Republic of China (“PRC Const.”), Art. 7, available at
4
     http://www.npc.gov.cn/englishnpc/Constitution/node_2825.htm), the role and purpose of Irico
5
     Display and all other subsidiaries under Irico Group in 2007 was significantly different than that
6
     of a privately held corporation. The Chinese socialist market economy contrasts sharply with the
7
     economy of the United States in that large industrial segments deemed crucial to China’s overall
8
     economic development and national security are owned and controlled by the state. (Clarke Decl.
9
     ¶¶ 16, 18.) While the business activities and some isolated governance structures of these
10
     state-owned enterprises may roughly resemble aspects of American private corporations, their
11
     purpose is not to enrich shareholders, but to contribute to China’s national economy, increase the
12
     value of their state-owned assets, and provide for the welfare of their workers. (Clarke Decl.
13
     ¶¶ 17-18; Amended Wang Decl. ¶¶ 25, 63, 65); see PRC Const., Art. 19 and 21 (encouraging
14
     “State enterprises” to “establish educational institutions of various types” and supporting “the
15
     setting up of various medical and health facilities by . . . State enterprises . . . for the protection
16
     of the people’s health”).
17
             Irico Group was authorized by various government agencies, along with its fully
18
     state-backed investment partners, to create Display in furtherance if its purpose to “contribute to
19
     the development of [China’s] electronics products,” (Amended Plunkett Decl., Ex. 31 at -668),
20
     and “protect and increase the value of State-owned assets,” (id., Ex. 44 at -854). The purposes of
21
     Display and Group were closely linked as part of the same state-owned enterprise group. (See
22
     Clarke Decl. ¶ 14 (noting formation of “group companies” to replace Chinese industrial
23
     ministries).) As a state-controlled company under Chinese law in 2007, Irico Display was
24
     required to “make efforts to increase economic efficiency and bear the responsibility of
25
     preserving and increasing the value of State-owned assets operated and managed” by Display for
26
     the benefit of the Chinese state. SASAC Regs., Art. 11.
27

28
     IRICO DISPLAY’S AMENDED MOTION TO DISMISS         12                          CASE NO. 3:07-CV-05944-JST
     DPPS FOR LACK OF JURISDICTION                                                              MDL NO. 1917
           Case 4:07-cv-05944-JST Document 5412 Filed 03/19/19 Page 19 of 29


1            As part of its government-mandated efforts to “increase economic efficiency,” Display

2    sought to earn a profit for its sale of CRTs and other products, but this fact does not undermine

3    Display’s public purpose. The direct pursuit of economic advancement by the government is a

4    core principle and policy decision of the Chinese state and a valid public purpose recognized in

5    the caselaw. 6 See PRC Const. Art. 7 (“The State-owned economy . . . is the leading force in the

6    national economy. The State ensures the consolidation and growth of the State-owned

7    economy.”); (Clarke Decl. ¶¶ 10-18). In this case, the Chinese government was the principal

8    beneficiary of Irico Display’s profits. Display’s results were consolidated into Irico Group’s

9    financial statements and formed the basis for Group’s mandatory state-owned capital dividends

10   to SASAC and the Chinese Ministry of Finance. (Plunkett Decl. Ex. 16 at -588.) The remainder

11   of Display’s profits were either reinvested in its business operations to “increas[e] the value of

12   [Display’s] State-owned assets,” SASAC Regs., Art. 11, or distributed as dividends to all

13   shareholders, with the largest portion benefitting Irico Group, a wholly-owned instrumentality of

14   the People’s Republic of China. See Powerex, 533 F.3d at 1101 (citing, in support of organ status,

15   the fact that “Powerex’s earnings are consolidated with those of” its direct parent, a wholly

16   owned instrumentality of Canada, for purposes of rate-setting and net income paid to the

17   Canadian government). Display’s very purpose therefore was to increase the value of

18   state-owned assets, contribute to the development of the Chinese national economy and, thus,

19   function as an organ of the People’s Republic of China.

20

21
     6
22    The recognition of state-owned profit-making activity as a valid public purpose has a long history in the
     Supreme Court’s sovereign immunity jurisprudence. In one of its earliest sovereign immunity cases, the
23   Court held that “advancing the trade of its people or providing revenue for its treasury” through
     commercial activity conducted by the foreign state constituted a valid public purpose and was worthy of
24   immunity. Berizzi Bros. Co. v. The Pesaro, 271 U.S. 562, 574 (1926) (“We know of no international
     usage which regards the maintenance and advancement of the economic welfare of a people in time of
25   peace of any less a public purpose than the maintenance or training of a naval force.”); see also Gates, 54
     F.3d at 1461 (recognizing public purpose of “advanc[ing] the Province of Alberta’s interest in marketing
26   Alberta hogs”). This principle has been codified in the FSIA through Congress’ explicit recognition that
     presumptively immune foreign states and their instrumentalities engage in “commercial activity,” and
27   only lose immunity when such activity has a sufficient nexus with the United States. See 28 U.S.C. §
     1605(a)(2); Powerex, 533 F.3d at 1102 (“Powerex is the kind of government entity that Congress had in
28   mind when it wrote the FSIA’s ‘commercial activity’ provisions.”) (internal quotations omitted).
     IRICO DISPLAY’S AMENDED MOTION TO DISMISS          13                           CASE NO. 3:07-CV-05944-JST
     DPPS FOR LACK OF JURISDICTION                                                                MDL NO. 1917
           Case 4:07-cv-05944-JST Document 5412 Filed 03/19/19 Page 20 of 29

                    4.      Irico Display’s Leaders Were Government-Appointed and
1                           Considered State Officials Under Chinese Law
2           Irico Display’s management—just as employees of state-controlled companies—
3    performed official state duties under Chinese law and therefore held a status that was distinct
4    from management of non-state-owned enterprises. These employees’ official status as public
5    functionaries further supports the finding of organ status of Display. See Alperin, 360 Fed.
6    App’x at 849 (finding entity to be an “organ of a foreign state” in part because its “highest
7    administrative level” was made up of “government officials all appointed by” the government);
8    Corporacion Mexicana de Servicios Maritimos, S.A. de C.V. v. M/T Respect, 89 F.3d 650, 655
9    (9th Cir. 1996) (finding subsidiary of government-owned enterprise was “organ of [the] foreign
10   state” where subsidiary was controlled by government appointees); (Clarke Decl. ¶¶ 36, 46).
11          Specifically, Display’s management was subject to the Chinese government’s mandates
12   for the integrity of state officials, relevant government anti-corruption provisions, and
13   supervision by the state Commission for Discipline Inspection. (Amended Wang Decl. ¶ 64.)
14   These mandates did not apply to management or employees of non-state-controlled enterprises.
15   (Id.) SASAC regulations specify that Display’s directors, management, and other “responsible
16   persons” are subject to disciplinary sanction and are liable to compensate the State for any loss of
17   State-owned assets caused by abuse of power or neglect of duty. See SASAC Regs., Art. 40 and
18   41 (“Where the responsible person of a . . . State-holding enterprise abuses his power or neglects
19   his duty, thus causing the loss of State-owned assets of the enterprise, such person shall” be liable
20   to make restitution to the government and be subject to “disciplinary sanction,” including
21   possible “criminal liability”). SASAC promulgated additional regulations governing the
22   evaluation of the performance of “responsible persons” of state-owned enterprises in 2006,
23   which specified that the management of state-controlled companies like Display were subject to
24   performance evaluation by SASAC. (Amended Plunkett Decl., Ex. 52 at Art. 2(3) (specifying
25   that the “Chairmen of boards, vice chairmen of boards, directors and general managers . . . as
26   well as vice general managers . . . and chief accountants” who are “representatives of
27   State-owned stock rights of State-controlled enterprises” shall be subject to annual performance
28
     IRICO DISPLAY’S AMENDED MOTION TO DISMISS       14                          CASE NO. 3:07-CV-05944-JST
     DPPS FOR LACK OF JURISDICTION                                                            MDL NO. 1917
           Case 4:07-cv-05944-JST Document 5412 Filed 03/19/19 Page 21 of 29


1    assessment by SASAC).) Under these regulations, SASAC “conduct[ed] proactive supervision

2    over the implementation of” letters of responsibility with each individual executive under their

3    control. (Id. at Art. 12.)

4            In addition, Article 93 of the Chinese Criminal Law dictates that “people engaged in

5    official duties in state-owned companies, enterprises, institutions, and people’s organizations,

6    and those who shall be assigned to non-state-owned companies, enterprises, institutions, and

7    social organizations from state-owned companies, enterprises, institutions, and other persons

8    who are engaged in official duties in accordance with the law, shall be treated as state

9    functionaries.” Criminal Law of the People’s Republic of China, Art. 93, available at

10   http://www.npc.gov.cn/englishnpc/Law/2007-12/13/content_1384075.htm (emphasis added);

11   (Clarke Decl. ¶ 39). The Supreme People’s Court and the Supreme People’s Procuratorate of

12   China (the highest Chinese court and prosecuting authority, respectively) issued guidance on

13   “handling job-related criminal cases,” which clarifies that the management of state-controlled

14   companies such as Display, who serve “upon nomination, recommendation, appointment [or]

15   approval” of a state-owned company such as Group, are considered state functionaries under the

16   Chinese Criminal law. (Amended Plunkett Decl., Ex. 1 at -014, -018.)

17           This elevated standard imposed on managers of State-controlled companies applied to

18   Display’s management. Two examples punctuate the application of these laws to the

19   management of Irico Group subsidiaries, which includes Display. (See Clarke Decl. ¶¶ 36, 46.)

20   First, three managers of Irico Group companies were tried as public officials—over the

21   managers’ arguments that they were not public officials—and convicted for accepting bribes in

22   the course of their public duties as employees of Irico Group subsidiaries. (See Amended

23   Plunkett Decl., Ex. 8 at -537, 10 at -556, 42 at -764; Clarke Decl. ¶¶ 37, 40-45.) Two of these

24   officials were managers of other subsidiaries of Irico Group, similarly situated to Display, while

25   one was a manager of a subsidiary of Display, two levels below Display in the corporate chain.

26   (See Clarke Decl. ¶¶ 40-45.) Due to their status as public officials, the defendants received harsh

27   sentences reserved solely for public officials. (See Clarke Decl. ¶ 36-37; see, e.g., Amended

28   Plunkett Decl., Ex. 10 at -570 (appeals court reversing initial court decision sentencing defendant

     IRICO DISPLAY’S AMENDED MOTION TO DISMISS      15                         CASE NO. 3:07-CV-05944-JST
     DPPS FOR LACK OF JURISDICTION                                                          MDL NO. 1917
             Case 4:07-cv-05944-JST Document 5412 Filed 03/19/19 Page 22 of 29


1    to six years imprisonment for “accepting bribes as a non-State worker,” and instead imposing a

2    sentence of ten years for accepting bribes as a state official).)

3              Second, all management of Irico Display (and other Irico Group subsidiaries) were

4    required to be members of the Chinese Communist Party and were subject to the authority of

5    Central Committee for any ethical violations. (Amended Wang Decl. ¶ 37.) The Chinese

6    Communist Party had cells embedded in Irico Display’s facilities to monitor and supervise all

7    employees and operations. (See Amended Wang Decl. ¶¶ 37, 64); Trans Chem. Ltd. v. China

8    Nat’l Mach. Imp. & Exp. Co., 978 F. Supp. 266, 281 (S.D. Tex. 1997) (holding a Chinese

9    state-owned corporation to be an “agency or instrumentality” of China, where the “presence of a

10   Communist Party cell in each enterprise . . . allows for Party control over the enterprise.”).

11   Several top executives of Irico Display were punished by this Central Committee and stripped of

12   their Communist Party membership for corruption during performance of their official duties at

13   Display. (Amended Wang Decl. ¶ 38.) The effect of these Display employees’ expulsion from

14   the Communist Party was that they were forever barred from holding a management position at

15   any state-owned enterprise. (Id.) “The fact that enterprise managers can be ‘disciplined’ by a

16   government department necessarily implies that they are administratively part of that department

17   and subordinate to its leadership.” Trans Chem., 978 F. Supp. 266 at 281 (alterations omitted).

18                     5.       Irico Display Had Significant Public Obligations and Privileges
                                Under Chinese Law
19
               Irico Display’s obligations to submit to the authority of SASAC and other government
20
     agencies under the State Council are described in detail above. In return for these obligations,
21
     Display received significant support from Chinese government ministries and wholly
22
     state-owned instrumentalities, including all of its initial funding at the time of formation, and
23
     periodic government appropriations allocated by SASAC and the Ministry of Finance through
24
     Group for use by Display for capital projects. (Amended Wang Decl. ¶¶ 59-60.)
25
               Irico Display received an allocation of over RMB100 million in government funds in
26
     2007 for its thin-film-transistor liquid-crystal display glass substrate project. 7 (Amended Wang
27

28   7
         Irico Group initiated the TFT-LCD glass substrate project in 2007 through a different subsidiary,
     IRICO DISPLAY’S AMENDED MOTION TO DISMISS           16                           CASE NO. 3:07-CV-05944-JST
     DPPS FOR LACK OF JURISDICTION                                                                 MDL NO. 1917
           Case 4:07-cv-05944-JST Document 5412 Filed 03/19/19 Page 23 of 29


1    Decl. ¶ 60.) As a state-controlled company, Display was entitled to “guidance and coordination”

2    from SASAC in “overcoming difficulties and solving problems in the process of their reform and

3    development.” SASAC Regs., Art. 14(6). Tied to the control exercised by Group, Display also

4    benefitted from the public services delegated to Group by the Chinese government, including a

5    school system, police department, hospital, and senior living center, which Irico Group was

6    required to set up around Display’s operations in Xianyang, Shaanxi Province, and benefitted

7    Display’s employees and their families, as well as the surrounding community. (Amended Wang

8    Decl. ¶¶ 25, 65.)

9            Irico Display thus qualifies as an “organ” of the State Council and, like Irico Group, is

10   presumptively immune from suit under the FSIA. (See Clarke Decl. ¶¶ 24, 31-35, 36, 46.) Like

11   other entities found to be “organs” by the Ninth Circuit, Irico Display was “restrained by

12   [government] regulations and directives applicable to government corporations,” restricted in its

13   “ability to enter [various] financial arrangements,” had its “financial operations” regularly

14   “reviewed by” the government, its “objectives” set by the government, and its board members

15   and management directly and “indirectly appoint[ed] and approv[ed]” by the government “to

16   ensure that [Display] carries out its public duties.” Powerex, 533 F.3d at 1101. Even if the Court

17   concludes that Display enjoyed “a limited degree of tactical independence,” as with the entity in

18   Powerex, “its purposes and strategies—indeed, its continued existence—are determined by” the

19   State Council through SASAC. Id.

20           B.      No Exceptions Apply That Would Deprive Irico Display of Sovereign
                     Immunity
21

22           DPPs bear the burden to demonstrate that the Court may properly invoke its subject

23   matter jurisdiction over Irico Display subject to one of the FSIA’s statutory exceptions. As with

24   Irico Group, no exceptions apply to Irico Display. See 28 U.S.C. § 1605. Saudi Arabia v. Nelson,

25   507 U.S. 349, 355 (1993) (“Under the Act, a foreign state is presumptively immune from the

26

27   Shaanxi Irico Electronic Glass Co., Ltd., (see Amended Plunkett Decl. Ex. 35 at -709), which was then
     placed under Irico Display’s majority ownership and control beginning in 2008, (see Clarke Decl. ¶¶
28   44-45.)

     IRICO DISPLAY’S AMENDED MOTION TO DISMISS        17                          CASE NO. 3:07-CV-05944-JST
     DPPS FOR LACK OF JURISDICTION                                                             MDL NO. 1917
           Case 4:07-cv-05944-JST Document 5412 Filed 03/19/19 Page 24 of 29


1    jurisdiction of the United States courts; unless a specified exception applies, a federal court lacks

2    subject-matter jurisdiction over a claim against a foreign state.”); Peterson v. Islamic Republic of

3    Iran, 627 F.3d 1117, 1125 (9th Cir. 2010) (“The structure of the FSIA—which codifies the

4    background rule that foreign states are immune from suit and execution, and then creates narrow

5    exceptions—suggest that courts must begin with the presumption that a foreign state is immune

6    and then the plaintiff must prove that an exception to immunity applies.”). In cases, as here,

7    “where a defendant . . . makes a factual attack on subject matter jurisdiction” and introduces

8    evidence showing immunity, “no presumptive truthfulness attaches to plaintiff’s allegations.”

9    Terenkian v. Republic of Iraq, 694 F.3d 1122, 1131 (9th Cir. 2012). “The plaintiff then has the

10   burden of going forward with the evidence by offering proof that one of the FSIA exceptions

11   applies.” Id.

12          Section 1605(a) of the FSIA provides exceptions to immunity only where a foreign state

13   or instrumentality (1) “waived its immunity,” (2) engaged in “commercial activity” upon which

14   the action is based with a sufficient nexus to the United States, (3) took property “in violation of

15   international law,” (4) contests rights to “immovable property” in the United States, (5)

16   committed certain noncommercial torts, or (6) is bound by an agreement to arbitrate. 28 U.S.C.

17   § 1605(a). Exceptions (3) through (6) have no conceivable application here, and this Court has

18   already found that actions by the Irico Defendants prior to their default did not waive immunity.

19   (Dkt. 5240 at 12-13).

20           DPPs previously asserted in error that the “commercial activity” exception would

21   preclude Irico Display from invoking immunity under the FSIA. (Dkt. 5221 at 12-17). The

22   commercial activity exception “is given a very restrictive interpretation,” Sec. Pac. Nat’l Bank v.

23   Derderian, 872 F.2d 281, 285 (9th Cir. 1989), and requires that the lawsuit be “based upon”

24   specific commercial acts by a particular “foreign state” defendant. 28 U.S.C. § 1605 (a)(2). A

25   foreign state or instrumentality loses its immunity under this exception only if:

26      (1) “the action is based upon a commercial activity carried on in the United States by the
            foreign state;”
27
        (2) “the action is based . . . upon an act performed in the United States in connection with a
28          commercial activity of the foreign state elsewhere;” or

     IRICO DISPLAY’S AMENDED MOTION TO DISMISS       18                          CASE NO. 3:07-CV-05944-JST
     DPPS FOR LACK OF JURISDICTION                                                            MDL NO. 1917
           Case 4:07-cv-05944-JST Document 5412 Filed 03/19/19 Page 25 of 29

         (3) “the action is based . . . upon an act outside the upon an act outside the territory of the
1            United States in connection with a commercial activity of the foreign state elsewhere and
             that act causes a direct effect in the United States.”
2
     Id. The first and second prongs of the exception cannot apply to Irico Display because Display
3
     carried on no “commercial activity” in the United States and performed no “acts” in the United
4
     States, let alone one upon which this action is based. (Amended Wang Decl. ¶¶ 12-13.)
5
             DPPs also cannot demonstrate that any of Irico Display’s alleged actions underlying their
6
     claims had a “direct effect” in the United States as required to defeat immunity under the third
7
     prong section 1605(a)(2). To constitute a “direct effect” under the FSIA, an effect must “follow[]
8
     as an immediate consequence of the defendant’s activity.” Republic of Argentina v. Weltover,
9
     Inc., 504 U.S. 607, 618 (1992). A consequence is immediate “if no intervening act breaks the
10
     chain of causation leading from the asserted wrongful act to its impact in the United States.”
11
     Terenkian, 694 F.3d at 1133 (citing Lyons v. Augusta S.P.A., 252 F.3d 1078, 1083 (9th Cir. 2001)
12
     and Guirlando v. T.C. Ziraat Bankasi A.S., 602 F.3d 69, 75 (2d Cir. 2010) (“[T]he requisite
13
     immediacy is lacking where the alleged effect depends crucially on variables independent of the
14
     conduct of the foreign state.”)) (internal quotations omitted).
15
             Moreover, “[s]atisfying the requirement that an effect be ‘immediate’ and therefore
16
     ‘direct’ is not sufficient by itself to satisfy the ‘direct effect’ prong of the commercial activity
17
     exception, however, because the effect must also be more than ‘purely trivial’ or ‘remote and
18
     attenuated.’” Terenkian, 694 F.3d at 1134 (citing Weltover, 504 U.S. at 618). This means that, to
19
     prove a direct effect, plaintiffs must show that “something legally significant actually happened
20
     in the United States” as a direct result of Irico Display’s actions. Id.; Gregorian v. Izvetsia, 871
21
     F.2d 1515, 1527 (9th Cir. 1989). These “legally significant” actions alleged to have directly
22
     injured plaintiffs must be actions of the specific defendant at issue, as actions by independent or
23
     even related entities will not suffice. See California v. NRG Energy, Inc., 391 F.3d 1011, 1024
24
     (9th Cir. 2004) (finding no “direct effect” by a parent company and refusing to impute any effects
25
     from direct sales to the U.S. by its wholly-owned subsidiary), vacated on other grounds,
26
     Powerex Corp. v. Reliant Energy Servs., Inc., 551 U.S. 224 (2007). “[M]ere financial loss by a
27

28
     IRICO DISPLAY’S AMENDED MOTION TO DISMISS        19                          CASE NO. 3:07-CV-05944-JST
     DPPS FOR LACK OF JURISDICTION                                                             MDL NO. 1917
           Case 4:07-cv-05944-JST Document 5412 Filed 03/19/19 Page 26 of 29


1    person—individual or corporate—in the U.S. is not, in itself, sufficient to constitute a direct

2    effect.” Adler v. Fed. Republic of Nigeria, 107 F.3d 720, 726-27 (9th Cir. 1997).

3           In their complaint, DPPs have alleged that Irico Display made sales “either directly

4    or through its subsidiaries or affiliates or through other Defendants throughout the United

5    States.” (Dkt. 436 at ¶ 39.) These allegations are purely speculative and are entitled to “no

6    presumptive truthfulness” in evaluating FSIA immunity. Terenkian, 694 F.3d at 1134. Plaintiffs

7    have presented no evidence that Irico Display made any sales (whether of CRTs or finished

8    products) to customers in the United States during the Class Period. Irico Display made no such

9    sales: Before 2005, Irico Display did not even have its own sales department and all sales were

10   handled by Irico Group. (Amended Wang Decl. ¶ 5.) Irico Display (and Irico Group) made no

11   sales to the United States during the Class Period, (id. at ¶ 12.), and no direct effect can be

12   attributed to Display under the commercial activity exception.

13          Nor can Plaintiffs rely on their allegations that Irico Display participated in a conspiracy

14   to support a finding of “direct effect.” The “direct effect” prong of the commercial activity

15   exception typically only applies in cases where a foreign sovereign has entered into a contractual

16   relationship requiring performance in the U.S., or where a U.S. plaintiff was injured directly by a

17   foreign sovereign’s tortious conduct. See, e.g., Weltover, 504 U.S. at 618-19 (finding “direct

18   effect” where contract specified payment in the United States); Adler, 107 F.3d 720, 726-27

19   (same); Am. West Airlines, Inc. v. GPA Group, Ltd., 877 F.2d 793, 796-800 (9th Cir. 1989)

20   (finding no “direct effect” where defendant’s allegedly faulty aircraft maintenance happened

21   outside the United States); Joseph v. Office of Consulate Gen. of Nigeria, 830 F.2d 1018, 1024

22   (9th Cir. 1987). Cases applying the “direct effect” test in the antitrust context are somewhat rare,

23   but those that do, including in the Ninth Circuit, have concluded that no direct effect exists unless

24   the specific defendant had direct sales of the allegedly affected product in the United States. See

25   California v. NRG Energy, Inc., 391 F.3d 1011, 1024 (9th Cir. 2004) (finding no “direct effect”

26   because a parent company’s “decisions affected an intermediary,” its own subsidiary, “whose

27   actions in turn affected the U.S.” through direct power sales to California), aff’g in part In re

28   Wholesale Electricity Antitrust Cases I & II, No. 2-0990-RHW, 2002 WL 34165887, at *8 (S.D.

     IRICO DISPLAY’S AMENDED MOTION TO DISMISS       20                          CASE NO. 3:07-CV-05944-JST
     DPPS FOR LACK OF JURISDICTION                                                            MDL NO. 1917
           Case 4:07-cv-05944-JST Document 5412 Filed 03/19/19 Page 27 of 29


1    Cal. Dec. 17, 2002) (“It appears, however, that BC Hydro simply delivered energy to Powerex,

2    and Powerex independently marketed and sold the power into the California markets . . . Any

3    ‘direct effect’ on the California markets was perpetrated by Powerex.”), vacated on other

4    grounds, Powerex Corp. v. Reliant Energy Servs., Inc., 551 U.S. 224 (2007); Filetech S.A. v. Fr.

5    Telecom, S.A., 212 F. Supp. 2d 183 at 197 (S.D.N.Y. 2001) (finding no “direct effect” from

6    allegedly anticompetitive conduct where defendant, an instrumentality of France, had not

7    “intended or contemplated a specific effect in the United States,” did not have “substantial sales

8    of marketing lists in the United States,” and “failed to arrange for or complete a single U.S. sale”

9    of certain other products).

10           Cases outside the antitrust context confirm that a “direct effect” cannot be established

11   without direct sales. See Terenkian, 694 F.3d at 1138 (finding no “direct effect” due to breach of

12   contract to deliver oil despite fact that “some of the oil intended for purchase was meant for the

13   U.S. market”); In re N. Sea Brent Crude Oil Futures Litig., No. 1:13-MD-02475 (ALC), 2016

14   WL 1271063, at *12 (S.D.N.Y. Mar. 29, 2016) (finding no “direct effect” where plaintiffs

15   “present[ed] evidence of a correlation between physical Brent crude oil prices and futures

16   prices,” and “any effect the physical transactions ha[d] on the United States markets [wa]s

17   mitigated by the actions of third parties”).

18           Jurisprudence on the application of personal jurisdiction to alleged participants in a

19   conspiracy is also instructive on this point.8 The Ninth Circuit has held that “the requirement of

20   a ‘direct effect’ incorporates the minimum contacts standards of International Shoe v.

21   Washington” and therefore “must comport with the traditional notions of fair play and substantial

22   justice which determine the due process limits of personal jurisdiction.” Derderian, 872 F.2d at

23   8
       In its February 1, 2018 Order granting Irico’s motion to set aside the default, the Court turned to cases
     under the Foreign Trade Antitrust Improvements Act (“FTAIA”) for assistance in interpreting the “direct
24
     effects” requirement. Irico submits that personal jurisdiction principles provide a more apt analogy
25   because, as described below, the Ninth Circuit has explicitly incorporated “minimum contacts” principles
     in its FSIA jurisprudence. In addition, unlike the FTAIA, sovereign immunity and personal jurisdiction
26   each address the court’s jurisdiction over a particular defendant. The FSIA and FTAIA also have notably
     different purposes. See Gross v. FBL Fin. Servs., Inc., 557 U.S. 167, 174 (2009) (noting that courts “must
27   be careful not to apply rules applicable under one statute to a different statute without careful and critical
     examination”); Lotes Co., Ltd. v. Hon Hai Precision Indus. Co., 753 F.3d 395, 410-11 (2d Cir. 2014)
28   (“Here, both the purpose and language of the FSIA and FTAIA differ in critical respects.”).

     IRICO DISPLAY’S AMENDED MOTION TO DISMISS           21                            CASE NO. 3:07-CV-05944-JST
     DPPS FOR LACK OF JURISDICTION                                                                  MDL NO. 1917
           Case 4:07-cv-05944-JST Document 5412 Filed 03/19/19 Page 28 of 29


1    286-87; see also Corzo v. Banco Cent. de Reserva del Peru, 243 F.3d 519, 525-26 (9th Cir. 2001)

2    (citing Security Pacific for the necessity of “minimum contacts” with the United States to

3    establish a direct effect under the FSIA); Theo. H. Davies & Co. v. Republic of Marshall Islands,

4    174 F.3d 969, 974 (9th Cir. 1998) (“Section 1330(b) [of the FSIA] provides, in effect, a Federal

5    long-arm statute over foreign states . . . . This long-arm statute, however, is constrained by the

6    minimum contacts required by International Shoe Co. v. Washington and its progeny.”) (internal

7    citation omitted); Rote v. Zel Custom Mfg. LLC, 816 F.3d 383, 395 (6th Cir. 2016) (observing

8    “that the Ninth Circuit has adopted . . . ‘minimum contacts’ analysis to conclude that [an]

9    activity had no ‘direct effect.’”).

10           In the personal jurisdiction context, courts in the Ninth Circuit have found that acts or

11   contacts of alleged co-conspirators cannot be imputed to a different defendant for purposes of

12   establishing jurisdiction over that defendant. As held in Kipperman v. McCone:

13           Contrary to plaintiff's assertion that personal jurisdiction over alleged
             co-conspirators may be acquired vicariously through the forum-related
14
             conduct of any single conspirator, the Court believes that personal
15           jurisdiction over any non-resident individual must be premised upon
             forum-related acts personally committed by the individual. Imputed conduct
16           is a connection too tenuous to warrant the exercise of personal jurisdiction.

17   422 F. Supp. 860, 873 n.14 (N.D. Cal. 1976) (emphases added). The Ninth Circuit likewise has
18   noted that a “conspiracy theory” of jurisdiction is unwarranted, observing that “[t]here is a great
19   deal of doubt surrounding [its] legitimacy,” Chirila v. Conforte, 47 Fed. App’x 838, 842 (9th Cir.
20   2002) (citing Kipperman and other cases), and has squarely rejected the imputing of contacts
21   from co-conspirators in the venue context. Piedmont Label Co. v. Sun Garden Packing Co., 598
22   F.2d 491, 492 (9th Cir. 1979). Extending the reach of the “direct effects” exception beyond that
23   recognized in this Circuit as appropriate for personal jurisdiction would frustrate “Congress’
24   intent that it be difficult for private litigants to bring foreign governments into court, thereby
25   affronting them.” Murphy v. Korea Asset Mgmt. Corp., 421 F. Supp. 2d 627, 640 (S.D.N.Y.
26   2005) (internal quotations omitted).
27           Given the absence of sales to the U.S. by Irico Display and the lack of any evidence that
28   Display otherwise meets the strictly-construed requirements of the commercial activities
     IRICO DISPLAY’S AMENDED MOTION TO DISMISS       22                          CASE NO. 3:07-CV-05944-JST
     DPPS FOR LACK OF JURISDICTION                                                            MDL NO. 1917
           Case 4:07-cv-05944-JST Document 5412 Filed 03/19/19 Page 29 of 29


1    exception, there is no basis for concluding that jurisdiction under the FSIA exists with respect to

2    Irico Display.

3    IV.    CONCLUSION

4           Based on the foregoing, Irico Display requests that the Court enter an order:

5    (a) dismissing the DPP Complaint against Irico Display with prejudice; and (b) granting such

6    further relief as may be just and equitable.

7

8    Dated: March 19, 2019                                    /s/ Stuart C. Plunkett
                                                      John Taladay (pro hac vice)
9                                                     john.taladay@bakerbotts.com
                                                      1299 Pennsylvania Ave., NW
10                                                    Washington, D.C. 20004
                                                      Telephone: (202) 639-7700
11                                                    Facsimile: (202) 639-7890
12                                                    Stuart C. Plunkett (State Bar No. 187971)
                                                      stuart.plunkett@bakerbotts.com
13                                                    BAKER BOTTS LLP
                                                      101 California Street, Suite 3600
14                                                    San Francisco, California 94111
                                                      Telephone: (415) 291-6200
15                                                    Facsimile: (415) 291-6300
16                                                    Attorneys for
                                                      IRICO GROUP CORP. and
17                                                    IRICO DISPLAY DEVICES CO., LTD.
18

19

20

21

22

23

24

25

26

27

28
     IRICO DISPLAY’S AMENDED MOTION TO DISMISS      23                         CASE NO. 3:07-CV-05944-JST
     DPPS FOR LACK OF JURISDICTION                                                          MDL NO. 1917
